   From:
   To:              MattGQnev
   Subject:         FW: Meeting to discuss Edibles
   Date:            Monday1 March 261 2018 10:41:02 AM




  From: Jennings H. Jones [mailto:jhjones@tndagc.org]
  Sent: Wednesday, January 24, 2018 10:45 AM
  To: Bill Sharp <bsharp@RCSOTN.ORG>; John C. Zimmermann <jczimmermann@tndagc.org>
  Subject: Meeting to discuss Edibles

  John and Bill:
            Bill has expressed a concern about what will happen if we indict, seize property and then
  the TBI refuses to testify that the substances used are illegal. Let's get together and discuss what is
  going on and how to address this possible issue.


  Are both of you available on Friday, February 2nd at 9am? If not, we can pick another date.



  Jennings H. Jones
  District Attorney General
  16th Judicial District
  320 W. Main Street, Ste 100
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